Case:18-41847-EJC Doc#:1 Filed:12/17/18 Entered:12/17/18 17:06:33 Page:1 of 50

Fill in this information to identify your case:

 

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF GEORGIA

 

Case number (if known) Chapter you are filing under:

 

Wf Chapter 7

0 Chapter 11
C) Chapter 12
U1 Chapter 13 O Check if this an

| amended filing

 

 

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 42117

 

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 7 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. if

more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.

Cae Identify Yourself

 

 

 

 

 

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name
Write the name thatison Angela Henry
your government-issued = First name First name
picture identification (for
example, your driver's M E
license or passport). Middle name Middle name
identiication to your «—«=«— Claudio Claudio
Last name and Suffix (Sr., Jr., Il, Ill) Last name and Suffix (Sr., Jr., I, IM)

meeting with the trustee.

 

2. All other names you have
used in the last 8 years Angela M Cuilan

Include your married or
maiden names.

 

3. Only the last 4 digits of
your Social Security
number or federal XXX-XX-5332 Xxx-xx-0070
Individual Taxpayer
Identification number
(ITIN)

 
Debtor 1

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Angela M Claudio

Debtor2 Henry E Claudio

About Debtor 1:

Case number (if known)

 

About Debtor 2 (Spouse Only in a Joint Case):

 

 

 

 

 

 

 

 

 

 

 

 

4. Any business names and
Employer Identification
Numbers (EIN) you have Ml | have not used any business name or EINs. 8 | have not used any business name or EINs.
used in the last 8 years
Include trade names and Business name(s} Business name(s)
doing business as names
EINs EINs
5. Where you live If Debtor 2 lives at a different address:
29 Bristlecone Drive
Savannah, GA 31419
Number, Street, City, State & ZIP Code Number, Street, City, State & ZIP Code
Chatham
County County
if your mailing address is different from the one lf Debtor 2's mailing address is different from yours, fill it
above, fill it in here. Note that the court will send any in here. Note that the court will send any notices to this
notices to you at this mailing address. mailing address,
Number, P.O. Box, Street, City, State & ZIP Code Number, P.O. Box, Street, City, State & ZIP Code
6. Why you are choosing Check one: Check one:

this district to file for
bankruptcy

M Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

O_sthave another reason.
Explain. (See 28 U.S.C. § 1408.)

@ Over the last 180 days before filing this petition, |
have lived in this district longer than in any other
district.

0 [have another reason.
Explain. (See 28 U.S.C. § 1408.)

 

 

 
Debtor 4

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Debtor2 Henry E Claudio

Angela M Claudio

Case number (if known)

 

 

Tell the Court About Your Bankruptcy Case

 

 

 

 

 

 

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
choosing to file under

a Chapter 7

(] Chapter 11

O Chapter 12

O Chapter 13

8. How youwillpaythe fee MH | will pay the entire fee when | file my petition. Please check with the clerk’s office in your local court for more details
about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
a pre-printed address.

CsI need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
The Filing Fee in Installments (Official Form 103A).

O__sI request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

9. Have you filed for BNo

bankruptcy within the ,
last 8 years? Q yes,
District When Case number
District When Case number
District When Case number
10. Are any bankruptcy BNo
cases pending or being
filed byaspouse whois [1 Yes.
not filing this case with
you, or by a business
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
Debtor Relationship to you
District When Case number, if known
11. Do you rent your HENo Go to line 12.
residence? .
O Yes. Has your fandlord obtained an eviction judgment against you?

Oo No. Go to line 12.

O Yes. Fill out initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
this bankruptcy petition.

 
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Debtor1 Angela M Claudio
Debtor2 Henry E Claudio Case number (if known)

 

 

Report About Any Businesses You Own as a Sole Proprietor

 

12. Are you a sole proprietor
of any full- or part-time No. Go to Part 4.
business?

O] ves. Name and location of business

A sole proprietorship is a
business you operate as Name of business, if any
an individual, and is nota
separate legal entity such
as a corporation,
partnership, or LLC.

 

 

If you have more than one Number, Street, City, State & ZIP Code

sole proprietorship, use a
separate sheet and attach
it to this petition. Check the appropriate box to describe your business:

 

| Health Care Business (as defined in 11 U.S.C. § 101(27A))

oO Single Asset Real Estate (as defined in 11 U.S.C. § 1014(51B))

oO Stockbroker (as defined in 11 U.S.C. § 101(53A))

Oo Commodity Broker (as defined in 11 U.S.C. § 101(6))

oO None of the above

13. Are you filing under if you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
Chapter 11 of the deadlines. \f you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
Bankruptcy Code and are operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
you a small business in 11 U.S.C. 1116(1)(B).
debtor?
HE No. | am not filing under Chapter 11.

For a definition of small
business debtor, see 11

U.S.C. § 101(51D). C1 No. pam fling under Chapter 11, but | am NOT a small business debtor according to the definition in the Bankruptcy
0 Yes. 1 am filing under Chapter 11 and | am a small business debtor according to the definition in the Bankruptcy Code.

 

Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

14. Do youownorhave any i No.
property that poses or is
alleged to pose athreat (1 Yes.
of imminent and What is the hazard?

 

identifiable hazard to
public health or safety?
Or do you own any

property that needs lf immediate attention is
immediate attention? needed, why is it needed?

 

For example, do you own

perishable goods, or

livestock that must be fed, Where is the property?
or a building that needs

urgent repairs?

 

Number, Sireet, City, State & Zip Code

 
Debtor 1

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Debtor2 Henry E Claudio

Angela M Claudio

Parts: (Eu Your Efforts to Receive a Briefing About Credit Counseling

15.

Case number (if known)

 

 

Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before
you file for bankruptcy.
You must truthfully check
one of the following
choices. If you cannot do
so, you are not eligible to
file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your
creditors can begin
collection activities again.

About Debtor 1:
You must check one:

| received a briefing from an approved credit oOo
counseling agency within the 180 days before |

filed this bankruptcy petition, and | received a

certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

lreceived a briefing from an approved credit O
counseling agency within the 180 days before |

filed this bankruptcy petition, but | do not have

a certificate of completion.

Within 14 days after you file this bankruptcy
petition, you MUST file a copy of the certificate and
payment plan, if any.

| certify that | asked for credit counseling Oo
services from an approved agency, but was

unable to obtain those services during the 7

days after | made my request, and exigent
circumstances merit a 30-day temporary waiver

of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted

only for cause and is limited to a maximum of 15

days.

1am not required to receive a briefing about oO
credit counseling because of:

0 _siIncapacity.
| have a mental illness or a mental deficiency
that makes me incapable of realizing or
making rational decisions about finances.

O_sSCODisability.
My physica! disability causes me to be
unable to participate in a briefing in person,
by phone, or through the internet, even after |
reasonably tried to do so.

Ol Active duty.
lam currently on active military duty in a
military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver credit counseling with the court.

About Debtor 2 (Spouse Only in a Joint Case):
You must check one:

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, and i received a certificate of
completion.

Attach a copy of the certificate and the payment plan, if
any, that you developed with the agency.

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, but | do not have a certificate
of completion.

Within 14 days after you file this bankruptcy petition, you
MUST file a copy of the certificate and payment pian, if
any.

| certify that | asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after | made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement.

To ask for a 30-day temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made
to obtain the briefing, why you were unable to obtain it
before you filed for bankruptcy, and what exigent
circumstances required you to file this case.

Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a briefing before you
filed for bankruptcy.

If the court is satisfied with your reasons, you must still
receive a briefing within 30 days after you file. You must
file a certificate from the approved agency, along with a
copy of the payment plan you developed, if any. If you do
not do so, your case may be dismissed.

Any extension of the 30-day deadline is granted only for
cause and is limited to a maximum of 15 days.

| am not required to receive a briefing about credit
counseling because of:

O_sIncapacity.
| have a mental illness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about finances.

O_#=ODisability.
My physica! disability causes me to be unable to
participate in a briefing in person, by phone, or
through the internet, even after | reasonably tried to
do so.

1 Active duty.
| am currently on active military duty in a military
combat zone.

if you believe you are not required to receive a briefing
about credit counseling, you must file a motion for waiver
of credit counseling with the court.

 
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‘ebter 1 Angela M Claudio
lebtor2 Henry & Claudio Case number (if known)

Answer These Questions for Reporting Purposes

 

 

6. What Kind of debts do 16a, Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
you have? individual primarily for a personal, family, or household purpose.”

[I No. Go to line 16b.
Mi Yes. Go to line 17.

16b, Are your debts primarily business debts? Business debts are debts that you Incurred to obtain
money for a business or investment or through the operation of the business or investment.

CJ No. Go to line 16¢.
C1 Yes. Go to line 17.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

166. State the type of debts you owe that are nol consumer debts or business debts

7. Are you filing under CINo. | amnot filing under Chapter 7. Go to line 18.

Chapter 7?

Do you estimate that Byes Lam filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
after any exempt “are paid that funds will be available to distribute to unsecured creditors?

property is excluded and

administrative expenses WNo

are paid that funds will

be available for Clyes

distribution to unsecured

creditors?

8. How many Creditors do Hl 4.49 C1 1,000-5,000 (1 25,001-50,000
you estimate thatyou =>. 50.99 (I 5001-10,000 (1 50,001-109,006

: C1 100-199 CT] 10,001-25,000 (1 More than100,000
C 200-999
9. How much do you CI $0 - $50,000 FI $1,000,001 - $10 million [1 $500,000,001 - $4 billion
Gere euresee to 1 $50,001 - $100,000 £7 $10,000,001 - $50 million CF $1,000,000,001 - $10 billion
ew $100,001 - $500,000 C1 $50,000,001 - $100 million 1 $10,000,000,001 - $50 billion
Cl $500,001 - $1 million CI $100,000,001 - $500 million (7d More than $50 billion
————— ——————

0. How much do you C1 $0 - $50,000 C1 $1,000,004 - $10 million (1 $500,000,001 - $1 billion
a your liabilities ~~ []_ $50,004 - $100,000 [J $10,000,001 - $50 million C1 $1,000,000,001 - $10 billion
one Bi $100,001 - $500,000 €] $50,000,001 - $100 million (2 $10,000,000,001 - $50 billion

(J $500,001 - $1 million (J $100,000,001 - $500 million (J More than $50 billion
‘or you | have examined this petition, and | declare under penalty of perjury that the information provided is true and correct.

ff | have chosen to file under Chapter 7, | am aware that {may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
United States Code. | understand the relief available under each chapter, and | choose to proceed under Chapter 7.

if no attorney represents me and J did not pay or agree to pay someone who is not an attorney to help me fill out this
document, | have obtained and read the notice required by 11 U.S.C, § 342(b).

| request relief in accordance with the chapter of title 14, United States Code, specified in this petition,

| understand making a false statement, concealing property, or obtaining money or properly by fraud in connection with a
bankruptcy case can result in fings-up to psn: or imprisonment for up to 20 years, of bothy 18-U.S.C, §§7152, 1341, 1519,

 

 

and 3571. wh / , /d 4K ff
isi Angela M Claudid’ [ety ( “6 X. _Is! Henry E Claudio -7 “Y/ 4 £
Angela M Claudio" if HenryE Claudia of 4 \
Signature of Debtor 4 7 Signature of Debtor 2 =

Executed on December 5, 2018 - Executed on December _5, 2018

 

MM/DD/YYYY ~~ MM/ DDT YYYY
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Debtor1 Angela M Claudio

Debtor2 Henry E Claudio

Case number (if known)

 

 

For your attorney, if you are
represented by one

If you are not represented by
an attorney, you do not need
to file this page.

|, the attorney for the debtor(s) named in this petition, declare that 1 have informed the debtor(s) about eligibility to proceed
under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
for which the person is eligible. | also certify that | have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
and, in a case in which § 707(b)(4)\(D) applies, certify that | have no knowledge after an inquiry that the information in the

schedules filed with the petition is incorrect.

\<, \
Is! John E. Pytte > |
Signature of Attorney for Debtor

John E. Pytte 590555

Printed name

John Pytte
Firm name
P.O. BOX 949

Hinesville, GA 31310
Number, Street, City, State & ZIP Code

Contact phone 942-369-3569

 

590555 GA

Bar number & State

Date

Email address

December 5, 2018
MM / DD / YYYY

johnpytte@jpytte.com

 
Case:18-41847-EJC Doc#:1 Filed:12/17/18 Entered:12/17/18 17:06:33

Fill in this information to identify your case:

Debtor 1 Angela M Claudio

First Name

 

Middle Name Last Name

Debtor 2
(Spouse if, filing)

Henry E Claudio

First Name Middle Name Last Name

SOUTHERN DISTRICT OF GEORGIA

United States Bankruptcy Court for the:

 

Case number
{if known)

 

 

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information

Page:8 of 50

O Check if this is an

amended filing

12/15

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file

your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

1. Schedule A/B: Property (Official Form 106A/B)
1a. Copy line 55, Total real estate, from Schedule AUBoccccccccccceccececneceverensceecccecsesnneececensasasesseesereteneesreeeenasneesneesenanigenee

1b. Copy line 62, Total personal property, from Schedule A/B.........cccccccceeeceeceseeceeeecneesteecagee sees sneaseespeegeceteasensens eases
1c. Copy line 63, Total of all property on Schedule A/B....cccccceccecccescsesceseccseceeeeseseeeceeeesssaeerseeecarseseerssenersrseceeeneateneasegas

Summarize Your Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......c cee

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.........e ee
Your total liabilities

[Gee Summarize Your Income and Expenses

4. Schedule I: Your Income (Official Form 1061)
Copy your combined monthly income from line 12 Of SCHEGUIC Loceeieccecccccccetteeteeceeeeereenecenereaeetacercesesacenaesane reat seeciee

5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c Of SCHECUIC Joo. eeeccccecsccectecesteccecerseerenteceneeecreseenersseaennaseneaneenye

Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

 

Your assets
Value of what you own

 

$ 159,200.00
$ 9,953.00
$ 169,153.00

Your liabilities
Amount you owe

 

$ 141,853.00
$ 0.00
$ 67,219.00

 
   
 

209,072.00

$ 4,537.18

$ 4,508.00

C1 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

M@ Yes
7. What kind of debt do you have?

@ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or

household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

(1 Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this

the court with your other schedules.
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information

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box and submit this form to

page 1 of 2

Best Case Bankruptcy
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Debtor1 Angela M Claudio
Debtor2 Henry E Claudio Case number (if known)

 

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
422A-1 Line 11: OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ 0.00

 

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

 

 

 

 

 

Total claim

From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00
9d. Student loans. (Copy line 6f.) $ 0.00
Ye. Obligations arising out of a separation agreement or divorce that you did not report as

priority claims. (Copy line 6g.) 0.00
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0.00
Qg. Total. Add lines 9a through 9f. $ 0.00

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

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Case:18-41847-EJC Doc#:1 Filed:12/17/18 Entered:12/17/18 17:06:33 Page:10 of 50

Fill in this information to identify your case and this filing:
Debtor 1 Angela M Claudio
First Name Middle Name Last Name

Debtor 2 Henry E Claudio
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF GEORGIA

 

Case number Ol Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 

Part 1: (BES Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In
4. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

C1 No. Go to Part 2.

Wi ves. where is the property?

14 What is the property? Check ail that apply
29 Bristlecone Drive

 

 

 

 

 

 

 

Hi Single-family home Do not deduct secured claims or exemptions. Put
Street address, if available, or other description ag the amount of any secured claims on Schedule D:
Dupl Iti-unit buildin
O plex onnayrayeus Creditors Who Have Claims Secured by Property.
Oo Condominium or cooperative
O Manufactured or mobile home
Current value of the Current value of the
Savannah GA 31419-0000 O Land entire property? portion you own?
City State ZIP Code (1 investment property $159,200.00 $159,200.00
i h
Uy Timeshare Describe the nature of your ownership interest
C1 Other (such as fee simple, tenancy by the entireties, or
Who has an interest in the property? Check one a life estate), if known.
OO debtor 1 only
Chatham 0 bdebtor 2 only
County Wi Debtor 1 and Debtor 2 only

Check if this is community property
3 atteast one of the debtors and another (see instructions)

Other information you wish to add about this item, such as focal
property identification number:

Chatham County Property Card: $159,200
Cost of Sale: $12,736

No equity after cost of sale

Surrender

 

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
pages you have attached for Part 1. Write that number Nere...........scececesseeceesensenenseeeenenseeseaseceneenenaseenaeanesteges =>

Teed Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

$159,200.00

 

 

Official Form 106A/B Schedule A/B: Property page 1

Gaftwara Coovriaht (c) 1996-2018 Best Case, LLC - www.bestcase.com Best Case Bankruptcy
Case:18-41847-EJC Doc#:1 Filed:12/17/18 Entered:12/17/18 17:06:33 Page:11 of 50

Debtor1 Angela M Claudio
Debtor2 Henry E Claudio Case number (if known)

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

HNo
QO Yes

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

No
C Yes

 

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for

.pages you have attached for Part 2. Write that number hete....... cess snssesesesscesesenersersneeeseseneeceteseenenenseanats => $0.00

 

 

 

Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

 

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

1 No
Ml Yes. Describe.....

 

| HHGS and Furnishings $2,500.00

 

7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
including cell phones, cameras, media players, games

DCONo
I Yes. Describe...

 

| Electronics and Appliances | $2,500.00

 

8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
other collections, memorabilia, collectibles

HNo
(1 Yes. Describe...

9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
musical instruments

BNo
1 Yes. Describe...

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

MNo
J Yes. Describe.....

 

 

 

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
ONo
H Yes. Describe...
| Clothing $300.00
Official Form 106A/B Schedule A/B: Property page 2

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Case:18-41847-EJC Doc#:1 Filed:12/17/18 Entered:12/17/18 17:06:33 Page:12 of 50

Debtor1 Angela M Claudio
Debtor 2 Henry E Claudio Case number (ff known)

=

 

12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

OO No
Mi Yes. Describe...

 

[ Rings, bracelets, earrings $1,000.00

 

13. Non-farm animals
Examples: Dogs, cats, birds, horses

HNo
Yes. Describe...

14. Any other personal and household items you did not already list, including any health aids you did not list
Bno

C1 Yes. Give specific information.....

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here ........ccsssceseerseecescesenerseaeeeneeceeseneneaseessneaneaecseenes

| Part 4: | Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

$6,300.00

 

 

 

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

HNo

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions, If you have multiple accounts with the same institution, list each.
ONo
BB eS. eee Institution name:
America's Credit Union Checking and
17.1. Savings $53.00

 

 

WSECU Washingtons State Employees Credit
17.2. Union Checking Account $0.00

 

 

Wells Fargo Checking and Savings- his
17.3. account $0.00

 

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
ONo

yes Institution or issuer name:

Stocks with TD Ameritrade
Penny Stocks $1,300.00

 

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

B No
0 Yes. Give specific information about them.............5
Name of entity: % of ownership:
Official Form 106A/B Schedule A/B: Property page 3

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Debtor1 Angela M Claudio
Debtor 2 Henry E Claudio Case number (if known)

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

HNo

1 Yes. Give specific information about them
Issuer name:

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
No

@ Yes. List each account separately.

 

 

Type of account: Institution name:
TSP $1,500.00
TSP Military $800.00

 

 

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others

No

D1 Yes. ooocccccceceeee Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
BNo

OD Yes......00.0.- Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

Mi No

O yes... Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 4), and rights or powers exercisable for your benefit
HNo

0 Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

HENo

Cl Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

HNo

0) Yes. Give specific information about them...

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you
Bi No

(1 Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settiement

MNo

O Yes. Give specific information...

Official Form 106A/B Schedule A/B: Property page 4

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Debtor1 Angela M Claudio
Debtor2. Henry E Claudio Case number (if known)

 

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
benefits; unpaid loans you made to someone else

MNo

0 Yes. Give specific information..

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

HNo

0 Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
value:

32. Any interest in property that is due you from someone who has died
if you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
someone has died.

MNo

(Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

HNo

(1 Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
MNo

O Yes. Describe each claim.........

35. Any financial assets you did not already list
HNo

O Yes. Give specific information..

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached

 

 

 

 

 

 

 

 

 

 

 

for Part 4. Write that number here.............cescsceeeeeeeee euteonevecernsnanncgnacenscesetseceesensencaanenacenensaeensaneres $3,653.00
EERE vescrive Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.
37, Do you own or have any legal or equitable interest in any business-related property?
HB No. Go to Part 6.
C1 Yes. Go to line 38.
[eal Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
if you own or have an interest in farmland, list it in Part 1.
46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
HH No. Go to Part 7.
O yes. Go to line 47.
Describe All Property You Own or Have an Interest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Examples; Season tickets, country club membership
HNo
0 Yes. Give specific information.........
54. Add the dollar value of all of your entries from Part 7. Write that number here .......sccssseesseeeseeeeecens $0.00
Official Form 106A/B Schedule A/B: Property page 5

Gaftwara Canurinht (-) 4998-2018 Rest Case 11 C - www bestcase.com Best Case Bankruptcy
Case:18-41847-EJC Doc#:1 Filed:12/17/18

Debior1 Angela M Claudio
Debtor2 Henry E Claudio

List the Totals of Each Part of this Form

55.
56.
57.
58.
59.
60.
61.

62.

63.

Official Form 106A/B

Entered:12/17/18 17:06:33 Page:15 of 50

 

Case number (if known)

Part 1: Total real estate, Fie 2 vi... ecccssscccenseecsccessecetecerssenscnsssacesasenceeseenscnsecscanseeseeeecauraesearecssasensereseaeenaerseesey

Part 2: Total vehicles, line 5

Part 3: Total personal and household items, line 15

Part 4: Total financial assets, line 36

Part 5: Total business-related property, line 45

Part 6: Total farm- and fishing-related property, line 52

Part 7: Total other property not listed, line 54 +

Total persona! property. Add lines 56 through 61...

Total of all property on Schedule A/B. Add line 55 + line 62

Soafhuarca Canuriaht fe) 10908-2018 Rest Case 11 C - www hestcase com

$0.00
$6,300.00

$3,653.00

$0.00
$0.00
$0.00

$9,953.00

Schedule A/B: Property

Copy personal property total

$159,200.00

$9,953.00

 

 

$169,153.00

 

 

page 6

Best Case Bankruptcy
Case:18-41847-EJC Doc#:1 Filed:12/17/18 Entered:12/17/18 17:06:33 Page:16 of 50

Fill in this information to identify your case:

Debtor 1 Angela M Claudio

First Name Middle Name Last Name

Debtor 2 Henry E Ciaudio
(Spouse if, filing) First Name Middle Name Last Name

 

 

United States Bankruptcy Court for the: © SOUTHERN DISTRICT OF GEORGIA

 

Case number
(if known) OO Check if this is an

amended filing

 

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 4/16

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Identify the Property You Claim as Exempt
1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
C1 You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § §22(b)(3)
i You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
29 Bristlecone Drive Savannah, GA $159,200.00 i $4,611.00 11 U.S.C. § 522(d)(1)
31419 Chatham County ——
Chatham County Property Card: O 100% of fair market value, up to
$159,200 any applicable statutory limit

Cost of Sale: $12,736

No equity after cost of sale
Surrender

Line from Schedule A/B: 1.1

 

HHGS and Furnishings $2,500.00 a $2,500.00 11 U.S.C. § 522(d)(3)
Line from Schedule A/B: 6.1 ge

 

1 100% of fair market value, up to
any applicable statutory limit

 

Electronics and Appliances $2,500.00 i $2,500.00 11 U.S.C. § 522(d)(3)
Line from Schedule A/B: 7.1 a —_
O 100% of fair market value, up to
any applicable statutory limit

 

Clothing $300.00 I $300.00 11 U.S.C. § 522(d)(3)
Line from Schedule A/B: 11.1 —

 

O 100% of fair market value, up to
any applicable statutory limit

 

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 2

Safhware Canvriaht (7) 1996-2018 Best Case. LLC - www.bestcase.com Best Case Bankruptcy
Case:18-41847-EJC Doc#:1 Filed:12/17/18 Entered:12/17/18 17:06:33 Page:17 of 50

Debtor1 Angela M Claudio

 

 

Debtor2 Henry E Claudio Case number (if known)
Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
Rings, bracelets, earrings $1,000.00 $1,000.00 11 U.S.C. § 522(d)(4)

 

Line from Schedule A/B: 12.1
C1 100% of fair market value, up to
any applicable statutory limit

 

 

America's Credit Union Checking 11 U.S.C. § 522(d)(5)
$53.00 $53.00

and Savings

Line from Schedule A/B: 17.1 C1 100% of fair market value, up to

any applicable statutory limit

 

 

Stocks with TD Ameritrade $1,300.00 $1,300.00 11 U.S.C. § 522(d)(5)
Penny Stocks , 2
Line from Schedule A/B: 18.1 [] 400% of fair market value, up to

any applicable statutory limit

 

TSP $1,500.00 Hi $1,500.00 11 U.S.C. § 522(d)(5)
Line from Schedule A/B: 21.1

 

O 400% of fair market value, up to
any applicable statutory limit

 

TSP Military $800.00 wl $800.00 11 U.S.C. § 522(d)(5)
Line from Schedule A/B: 21.2

 

1 100% of fair market value, up to
any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

HM No
OYes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

CO No
Ol Yes
Official Form 106C Schedule C: The Property You Claim as Exempt page 2 of 2

Onthuaca Canurinht fe) 1996-2118 Best Case. LLC - www.bestcase.com Best Case Bankruptcy
Case:18-41847-EJC Doc#:1 Filed:12/17/18 Entered:12/17/18 17:06:33 Page:18 of 50

Fill in this information to identify your case:

Debtor 1 Angela M Claudio

First Name Middle Name Last Name

Debtor 2 Henry E Claudio
(Spouse if, filing) First Name Middle Name Last Name

 

 

United States Bankruptcy Court for the: © SOUTHERN DISTRICT OF GEORGIA

 

Case number
(if known) OF Check if this is an

amended filing

 

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).

1. Do any creditors have claims secured by your property?
CI No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

@ Ves. Fill in all of the information below.
List All Secured Claims

 

 

 

 

 

 

 

 

C i B Col Cc
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately clair coum ie
for each claim. {f more than one creditor has a particular claim, list the other creditors in Part 2. As Amount of claim Value of collateral Unsecured
much as possible, list the claims in alphabetical order according to the creditor's name. Do not deduct the that supports this portion
value of collateral. claim If any
2.1 | Wells Fargo Home Mor Describe the property that secures the claim: $141,853.00 $159,200.00 $0.00
Creditors Name 29 Bristlecone Drive Savannah, GA
31419 Chatham County
Chatham County Property Card:
$159,200
Cost of Sale: $12,736
Attn: Bankruptcy No equity after cost of sale
Department See ‘ou file, the claim is: Check all that
8480 Stagecoach Cir. aan _ enecwane
Frederick, MD 21701 C1 contingent
Number, Street, City, State & Zip Code oO Unliquidated
Oo Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
Wi pebtor 1 only Olan agreement you made (such as mortgage or secured
I
CO) Debtor 2 only car loan)
C1 Debtor 1 and Debtor 2 only oO Statutory lien (such as tax lien, mechanic's lien)
D1 At least one of the debtors and another oO Judgment lien from a lawsuit
U1 Check if this ciaim relates to a O other (including a right to offset)
community debt
Opened
09/13 Last
Active
Date debt was incurred 7/03/18 Last 4 digits of account number 4854
Add the dollar value of your entries in Column A on this page. Write that number here: $141,853.00
If this is the last page of your form, add the dollar value totals from all pages.
Write that number here: $141,853.00

 

 

 

List Others to Be Notified for a Debt That You Already Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any

debts in Part 1, do not fill out or submit this page.

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 1

Ontiunca Canurinht (o\ 4Q0R.7018 Rest Case 11 C - www.bestcase.com Best Case Bankruptcy
Case:18-41847-EJC Doc#:1 Filed:12/17/18 Entered:12/17/18 17:06:33 Page:19 of 50

Fill in this information to identify your case:

Debtor 14 Angela M Claudio

First Name

 

Middle Name Last Name

Debtor 2
(Spouse if, filing)

Henry E Claudio

First Name

 

Middle Name Last Name

SOUTHERN DISTRICT OF GEORGIA

United States Bankruptcy Court for the:

 

Case number
(if known) O] Check if this is an

amended filing

 

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).

au List All of Your PRIORITY Unsecured Claims

4. Do any creditors have priority unsecured claims against you?

 

No. Go to Part 2.

C1 ves.
List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?
OD No. You have nothing to report in this part. Submit this form to the court with your other schedules.

BH ves.

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
Part 2.

 

 

 

 

 

Total claim

[aa | Ally Financial Last 4 digits of account number 3500 $35,497.00

Nonpriority Creditor's Name

Attn: Bankruptcy Dept Opened 09/17 Last Active

Po Box 380901 When was the debt incurred? 05/18

Bloomington, MN 55438

Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply

Who incurred the debt? Check one.

Wl Debtor 1 only C Contingent

C1 Debtor 2 only 0 unliquidated

C1 Debtor 1 and Debtor 2 only oO Disputed

At least one of the debtors and another Type of NONPRIORITY unsecured claim:

O1 Check if this claim is for a community C1 student loans

debt Oo Obligations arising out of a separation agreement or divorce that you did not

Is the claim subject to offset? report as priority claims

Bi No C1 Debts to pension or profit-sharing plans, and other similar debts

2017 Ford Escape 19,000 miles

O ves @ other. Specify Repossessed
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 1 of 8
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Case:18-41847-EJC Doc#:1

Debtor1 Angela M Claudio
Debtor 2 Henry E Claudio

 

 

Filed:12/17/18 Entered:12/17/18 17:06:33 Page:20 of 50

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.2 Americas Credit Union Last 4 digits of account number 0600 $7,057.00
Nonpriority Creditor's Name
Opened 01/10 Last Active
When was the debt incurred? 07/18
Number Sireet City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only oO Contingent
C1 Debtor 2 only DO unliquidated
OJ Debtor 1 and Debtor 2 only Oo Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 check if this claim is for a community C1 student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
a No O Debts to pension or profit-sharing plans, and other similar debts
O yes @ other. Specify Credit Card
4.3 Capital Management Services, LP Last 4 digits of accountnumber 6125 $5,000.00
Nonpriority Creditor's Name
698 1/2 South Ogden Street When was the debt incurred?
Buffalo, NY 14206-2317
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
OO Debtor 1 only oO Contingent
C1 Debtor 2 only 00 untiquidated
W pebtor 1 and Debtor 2 only O Disputed
D1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CI Check if this claim is for a community [1 student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
BNno C1 Debis to pension or profit-sharing plans, and other similar debts
O yes @ other. Specify Collections
Central Florida Expressway
44 Authority Last 4 digits of account number $200.00
Nonpriority Creditor's Name
PO Box 585070 When was the debt incurred?
Orlando, FL 32858-5070
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
C1 Debtor 1 only o Contingent
C1 Debtor 2 only C1 untiquidated
WI Debtor 1 and Debtor 2 only oO Disputed
C1 at teast one of the debtors and another Type of NONPRIORITY unsecured claim:
OO Check if this claim is for a community 1 student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bi No C) Debts to pension or profit-sharing plans, and other similar debts
0 ves @ other. Specify Tolls/Citations-aware not dischargeable
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of 8

Cnfiuincn Canvirinht fr) 1OQR_9N12 Raet Cacao TIT -ananas heacteace cam

Best Case Bankruptcy
Case:18-41847-EJC Doc#:1

Debtor 1 Angela M Claudio
Debtor 2 Henry E Claudio

Filed:12/17/18 Entered:12/17/18 17:06:33 Page:21 of 50

Case number (if known)

 

 

Chase Card Services

 

Nonpriority Creditor's Name
Correspondence Dept
Po Box 15298
Wilmington, DE 19850

 

Number Street City State Zip Code

Who incurred the debt? Check one.

Wi pebtor 1 only

O Debtor 2 only

C1 Debtor 1 and Debtor 2 only

D1 At least one of the debtors and another

C1 Check if this claim is for a community
debt

Is the claim subject to offset?

Last 4 digits of account number 3018 $0.00
Opened 05/05 Last Active
1/25/07

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

Oo Contingent
0 unliquidated

QO Disputed
Type of NONPRIORITY unsecured claim:

U2 student loans

Oo Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

 

 

 

 

 

 

 

 

 

 

 

 

a No C1 Debts to pension or profit-sharing plans, and other similar debts
C Yes @ other. Specify Credit Card
Citibank/Best Buy Last 4 digits of account number 7154 _ $5,784.00
Nonpriority Creditor's Name
Attn: Bankruptcy Opened 12/16/08 Last Active
Po Box 790441 When was the debt incurred? 04/18
St. Louis, MO 63179
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
a Debtor 1 only O Contingent
D1 Debtor 2 only oO Unliquidated
OO Debtor 1 and Debtor 2 only oO Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
01 Check if this claim is for a. community C1 student toans
debt OQ obligations arising out of a separation agreement or divorce that you did not
g P 9
Is the claim subject to offset? report as priority claims
a No D1 Debts to pension or profit-sharing plans, and other similar debts
CO] Yes BB other. Specify Charge Account
Citibank/Shell Oil Last 4 digits of account number 2800 $0.00
Nonpriority Creditors Name
Centralized Bankruptcy Opened 08/05 Last Active
Po Box 790034 When was the debt incurred? 1/03/18
St Louis, MO 63179
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WH bebtor 1 only Oo Contingent
CI Debtor 2 only 0 Unliquidated
CI Debtor 1 and Debtor 2 only Oo Disputed
C1 At teast one of the debtors and another Type of NONPRIORITY unsecured claim:
OC Check if this claim is for a community C1 student loans
debt D1 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
a No O Debts to pension or profit-sharing plans, and other similar debts
Q ves HH other. Specify Credit Card
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 3 of 8

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sananas hactanen anm

Rect Mace Ranknintey
Case:18-41847-EJC Doc#:1 Filed:12/17/18 Entered:12/17/18 17:06:33

Debtor1 Angela M Claudio
Debtor 2 Henry E Claudio

 

 

Page:22 of 50

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

City of Savannah Last 4 digits of account number 5332 $650.00
Nonpriority Creditor's Name
P.O. Box 1968 When was the debt incurred?
Utility Service
Savannah, GA 31402-1968
Number Street City State ZIp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one,
O Debtor 1 only Oi contingent
C1 Debtor 2 only D1 unliquidated
WB bebtor 1 and Debtor 2 only Oo Disputed
Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C] Check if this claim is for a community C1 student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino O Debts to pension or profit-sharing plans, and other similar debts
0 yes @ other. Specify Utility Collection

Comenity Bank /Express Last 4 digits of account number 8645 $250.00
Nonpriority Creditor's Name
PO Box 182782 When was the debt incurred?
Columbus, OH 43218-2782
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
U1 Debtor 1 only oO Contingent
O1 Debtor 2 only 0 unliquidated
Wl debtor 1 and Debtor 2 only O disputed
C1 At teast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a community C1 student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
a No Oi Debts to pension or profit-sharing plans, and other similar debts
0 yes other. Specify Charge Account

41

0 Duke Energy Last 4 digits of account number 1162 $250.00

Nonpriority Creditor's Name
PO Box 1004 When was the debt incurred?
Charlotte, NC 28201-1004
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
0 Debtor 4 only Oo Contingent
C1 Debtor 2 only CO untiquidated
WB pebtor 1 and Debtor 2 only O1 Disputed
OD At least one of the debtors and another Type of NONPRIORITY unsecured claim:
OC check if this claim is for a community C1 student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bino Oi Debts to pension or profit-sharing plans, and other similar debts
OD Yes WB other. Specify Collections

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 4 of 8

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Best Case Bankruptcy
Case:18-41847-EJC Doc#:1

Debtor1 Angela M Claudio
Debtor 2 Henry E Claudio

 

 

 

 

 

Filed:12/17/18 Entered:12/17/18 17:06:33 Page:23 of 50

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Ratheinen Annie

rinkt (n\ 400K 942 Bact Cacao 11 CO — sansa hactraca cam

41
Fi IQ Data International Last 4 digits of account number 1620 $500.00
Nonpriority Creditor's Name
PO Box 340 When was the debt incurred?
Bothell, WA 98041-0340
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
O1 Debtor 1 only oO Contingent
C1 Debtor 2 only 0 Untiquidated
Wi pbebtor 1 and Debtor 2 only O Disputed
CJ At least one of the debtors and another Type of NONPRIORITY unsecured claim:
O1 Check if this claim is for a community O student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
B no O1 Debts to pension or profit-sharing plans, and other similar debts
O ves MH other. Specity Collection for Canterbury Apartments
4.1 5 .
2 New Jersey Turnpike Authority Last 4 digits of account number $0.00
Nonpriority Creditor's Name
PO Box 4971 When was the debt incurred?
Trenton, NJ 08650
Number Street City State Zlp Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
O1 Debtor 1 only C1 contingent
C1 Debtor 2 only C1 unliquidated
Wl Debtor 1 and Debtor 2 only oO Disputed
C1 At teast one of the debtors and another Type of NONPRIORITY unsecured claim:
U1 Check if this claim is for a community C1 student toans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
a No C1 Debts to pension or profit-sharing plans, and other similar debts
(1 Yes @ other. Specify Tolls/Citations-aware not dischargeable
t pecify
41
3 New York Thruway Last 4 digits of account number $0.00
Nonpriority Creditor's Name
Violations Processing Center When was the debt incurred?
PO Box 15186
Albany, NY 12212-5186
Number Street City State Zlp Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
0 Debtor 4 only O Contingent
U1 Debtor 2 only C1 unliquidated
@ pebior 1 and Debtor 2 only | Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
( Check if this claim is fora community U1 student loans
debt C1 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
no O Debts to pension or profit-sharing plans, and other similar debts
O yes @ other. Specity Tolls/Citations-aware not dischargeable
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 5 of 8

Best Case Bankruptcy
Case:18-41847-EJC Doc#:1

Debtor 1 Angela M Claudio
Debtor2 Henry E Claudio

 

 

 

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Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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4.1 ; F ri

4 RTR Financial Services Last 4 digits of account number 3201 $850.00
Nonpriority Creditor's Name
PO Box 60640 When was the debt incurred?
Staten Island, NY 10306-0640
Number Street City State ZIp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
DD Debtor 1 only C1 contingent
C1 Debtor 2 only 0 unliquidated
B® Debtor 1 and Debtor 2 only O pisputed
DI At teast one of the debtors and another Type of NONPRIORITY unsecured claim:
O check if this claim is for a community L student loans
debt U1 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
|_| No CQ Debts to pension or profit-sharing plans, and other similar debts

Parking/Toll Citations- aware debt not

C1 yYes BF other. Specify dischargeable

441

5 Synchrony Bank/Amazon Last 4 digits of account number 3381 $700.00

Nonpriority Creditor's Name
PO Box 965013 When was the debt incurred?
Orlando, FL 32896-5013
Number Street City State Zlp Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
C1 Debtor 1 only Oo Contingent
C1 Debtor 2 only C1 unliquidated
BB pebtor 1 and Debtor 2 only 0 pisputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
1 Check if this claim is for a community C1 student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno O Debts to pension or profit-sharing plans, and other similar debts
O yes i other. Specity Charge Account

4

6 Synchrony Bank/Lowes Last 4 digits of account number 9983 $3,062.00

Nonpriority Creditor's Name
Attn: Bankruptcy Dept Opened 09/13 Last Active
Po Box 965060 When was the debt incurred? 07/18
Orlando, FL 32896
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
W pdebtor 1 only Oo Contingent
0 Debtor 2 only 01 unliquidated
D1 Debtor 1 and Debtor 2 only O Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
O check if this claim is for a community C1 student loans
debt C1 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino C1 debts to pension or profit-sharing plans, and other similar debts
O ves Ml other. Specify Charge Account

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 6 of 8

Best Case Bankruptcy
Case:18-41847-EJC Doc#:1

Debtor 1 Angela M Claudio
Debtor 2 Henry E Claudio

 

 

 

 

 

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Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

41 .

7 The Port Authority of NY & NJ Last 4 digits of account number 8095 $120.00
Nonpriority Creditor's Name
clo Alliance One Receivables When was the debt incurred?
Managment
6565 Kimball Drive, Suite 200
Gig Harbor, WA 98335
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
0 Debtor 4 only oO Contingent
C1 Debtor 2 only D1 unliquidated
@ debtor 1 and Debtor 2 only Oo Disputed
(1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
O] Check if this claim is for a community C1 student loans
debt O obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bi No O Debts to pension or profit-sharing plans, and other similar debts
O ves WH other. Specify Tolls/Citations--aware not dischargeable

41

8 USAA Insurance Last 4 digits of account number 5332 $750.00
Nonpriority Creditor's Name
Attn: Bankruptcy Dept. When was the debt incurred?
9800 Fredericksburg Rd
San Antoinio, TX 78288
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
C1 Debtor 1 only oO Contingent
O1 Debtor 2 only D) unliquidated
WE Debtor 1 and Debtor 2 only O Disputed
[1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 check if this claim is fora community C1 student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino (1 Debts to pension or profit-sharing plans, and other similar debts
O ves i other. Specify Collection

41 Washington State Employees Credit

8 Union Last 4 digits of account number 9004 $6,549.00
Nonpriority Creditor's Name

Opened 03/07 Last Active

PO Box WSECU When was the debt incurred? 05/18
Olympia, WA 98507
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
Wi debtor 1 only a) Contingent
O Debtor 2 only O Unliquidated
C1 Debtor 1 and Debtor 2 only 0 Disputed
DAtteast one of the debtors and another Type of NONPRIORITY unsecured claim:
U1 Check if this claim is for a community C1 student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
a No 0 Debts to pension or profit-sharing plans, and other similar debts
C1 Yes WB other. Specify

LEREHEE List Others to Be Notified About a Debt That You Already Listed

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 7 of 8

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Case:18-41847-EJC Doc#:1 Filed:12/17/18 Entered:12/17/18 17:06:33 Page:26 of 50

Debtor 1 Angela M Claudio
Debtor2 Henry E Claudio Case number (if known)

 

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then fist the collection agency here. Similarly, if you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. lf you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
Comenity Bank Line 4.9 of (Check one): O1 Part 1: Creditors with Priority Unsecured Claims
PO Box 659728

. a Part 2: Creditors with Nonpriority Unsecured Claims
San Antonio, TX 78265

Last 4 digits of account number

 

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
HELVEY ASSOCIATES Line 4.10 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims
1015 E. CENTER ST.

WF part 2: Creditors with Nonpriority Unsecured Claims
WARSAW, IN 46580

Last 4 digits of account number

 

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
Retrieval-Masters Creditors Bureau, Line 4.12 of (Check one): 1 Part 1: Creditors with Priority Unsecured Claims
Inc

; a Part 2: Creditors with Nonpriority Unsecured Claims
4 Westchester Plaza, Suite 110

Elmsford, NY 10523

Last 4 digits of account number

 

[GEE Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
type of unsecured claim.

 

 

 

 

 

 

 

 

Total Claim
6a, Domestic support obligations 6a. $ 0.00
Ig
Total
claims
from Part 1 6b. Taxes and certain other debts you owe the government 6b. $ 0.00
ye
6c. Claims for death or personal injury while you were intoxicated 6c. $ 0.00
———_—_
6d. Other. Add all other priority unsecured claims. Write that amount here. 6d. $ 0.00
SS
6e, Total Priority. Add lines 6a through 6d. 6e. $ 0.00
Total Claim
6f. Student loans 6f. $ 0.00
Total
claims
from Part 2 6g. Obligations arising out of a separation agreement or divorce that 0.00
you did not report as priority claims 6g. $ :
6h. Debts to pension or profit-sharing plans, and other similar debts 6h, $ 0.00
A
6i. Other. Add all other nonpriority unsecured claims. Write that amount Gi.
here. $ 67,219.00
6j. Total Nonpriority. Add lines 6f through 6i. 6j. $ 67,219.00
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 8 of 8

Datiiimen Caniinht fo\ 1008-2018 Rast Case 11 © - www.bestcase.com Best Case Bankruptcy
Case:18-41847-EJC Doc#:1 Filed:12/17/18 Entered:12/17/18 17:06:33 Page:27 of 50

Fill in this information to identify your case:
Debtor 1 Angela M Claudio

First Name Middle Name Last Name

Debtor 2 Henry E Claudio
(Spouse if, filing) First Name Middle Name Last Name

 

 

United States Bankruptcy Court forthe: © SOUTHERN DISTRICT OF GEORGIA

 

Case number
(if known) O1 Check if this is an
amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. ff more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
HB No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
O Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
and unexpired leases.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Person or company with whom you have the contract or lease State what the contract or lease is for
Name, Number. Street, City. State and ZIP Code

2.1

Name

Number Street

City State ZIP Code
2.2

Name

Number Street

City State ZIP Code
2.3

Name

Number Street

City State ZIP Code
2.4

Name

Number Street

City State ZIP Code
2.5

Name

Number Street

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 4

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Case:18-41847-EJC Doc#:1 Filed:12/17/18 Entered:12/17/18 17:06:33 Page:28 of 50

Fill in this information to identify your case:

Debtor 1 Angela M Claudio

First Name Middle Name Last Name

Debtor 2 Henry E Claudio
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: © SOUTHERN DISTRICT OF GEORGIA

 

Case number
(if known) OF Check if this is an
amended filing

 

 

 

Official Form 106H
Schedule H: Your Codebtors 42/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

HNo
[] Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

Hf No. Go to fine 3.
O Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G fo fill
out Column 2.

 

 

 

 

 

 

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Name, Number, Street, City, State and ZIP Code Check all schedules that apply:
3.1 01 Schedule D, line
Name O Schedule E/F, line
0 Schedule G, line
Number Street
City State ZIP Code
3.2 C1 Schedule D, line
Name CO Schedule E/F, line ;
OO Schedule G, line
Number Street
City State ZIP Code
Official Form 106H Schedule H: Your Codebtors Page 1 of 1

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Fill in this information to identif

Debtor 4 Angela M Claudio

Debtor 2 Henry E Claudio
(Spouse, if filing)

 

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF GEORGIA

 

Case number Check if this is:
(lflknewny) 0 An amended filing

O A supplement showing postpetition chapter
13 income as of the following date:

Official Form 106] MM/DDIYYYY”
Schedule I: Your Income 12/45

 

 

 

 

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

1. Fill in your employment

 

information. Debtor 1 Debtor 2 or non-filing spouse
If you have more than one job, Mi Employed @ Employed
attach a separate page with Employment status
information about additional C1 Not employed CO Not employed
employers. ;
Occupation Unemployed Computer Tech

 

Include part-time, seasonal, or .
self-employed work. Employer's name Apple Inc.

Occupation may include student Employer's address

or homemaker, if it applies. One Apple Park Way

Cupertino, CA 95014

 

How long employed there? 14 months

Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

 

List monthly gross wages, salary, and commissions (before all payroll
2. deductions). If not paid monthly, calculate what the monthly wage would be. 2, $ 0.00 $ 1,924.52

 

3. Estimate and list monthly overtime pay. 3. +$ 0.00 86+ 0.00

 

 

4. Calculate gross Income. Add line 2 + line 3. 4.1 $ 0.00 $ 1,924.52

 

 

 

 

 
Debtor 1
Debtor2 Henry E Claudio

10.

11.

12.

13.

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Angela M Claudio

 

 

Case number (if known)

For Debtor 1

 

For Debtor 2 or
non-filing spouse

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Copy line 4 here 4. §$ 0.00 $ 1,924.52
List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. $ 0.00 $ 398.02
5b. Mandatory contributions for retirement plans 5b.  $ 0.00 $ 0.00
5c. Voluntary contributions for retirement plans 5c. $ 0.00 6$ 57.74
5d. Required repayments of retirement fund loans 5d. $ 0.00 $ 0.00
5e. Insurance Se. $ 0.00 $ 4.96
5f. Domestic support obligations a 0.00 6$ 0.00
5g. Union dues 5g. $ 0.00 $ 0.00
5h. Other deductions. Specify: 5h.t $ 0.00 + $ 0.00
Add the payroll deductions. Add lines 5at+5b+5c+5d+5e+5f+5g+5h. 6. $ 0.00 «—$ 460.72
Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 0.00 $ 1,463.80
List all other income regularly received:
8a. Net income from rental property and from operating a business,

profession, or farm

Attach a statement for each property and business showing gross

receipts, ordinary and necessary business expenses, and the total

monthly net income. 8a. § 0.00 $ 0.00
8b. Interest and dividends 8b. §$ 0.00 $ 0.00
8c. Family support payments that you, a non-filing spouse, or a dependent

regularly receive

Include alimony, spousal support, child support, maintenance, divorce

settlement, and property settlement. 8c. $ 0.00 $ 0.00
8d. Unemployment compensation 8d. $ 0.00 $ 0.00
8e. Social Security 8e. $ 0.00 = $ 0.00
8f. Other government assistance that you regularly receive

include cash assistance and the value (if known) of any non-cash assistance

that you receive, such as food stamps (benefits under the Supplemental

Nutrition Assistance Program) or housing subsidies.

Specify: af. § 0.00 $ 0.00
8g. Pension or retirement income 8g. §$ 0.00) = $ 0.00
8h. Other monthly income. Specify: Gl Bill 8h.t $ 0.00 $ 2,488.38

Prorated Tax Refund $ 585.00 $ 0.00
Add all other income. Add lines 8a+8b+8c+8d+8et8f+8g+8h. 9. |$ 585.00] |$ 2,488.38
Calculate monthly income. Add line 7 + line 9. 10. |$ 585.00/+/$  3,952.18/=|$ 4,537.18

Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

State all other regular contributions to the expenses that you list in Schedule J.

 

 

 

 

 

 

 

include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
other friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify:

Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it

 

applies

Do you expect an increase or decrease within the year after you file this form?

a
Oo

No.

 

 

 

 

 

11. +$ 0.00
$ 4,537.18
Combined

monthly income

 

Yes. Explain: |

 
Case:18-41847-EJC Doc#:1 Filed:12/17/18

Fill in this information to identify your case:

Debtor 1

Angela M Claudio

Entered:12/17/18 17:06:33 Page:31 of 50

Check if this is:

 

Debtor 2
(Spouse, if filing)

Henry E Claudio

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF GEORGIA

Ol Anamended filing

(1 Asupplement showing postpetition chapter
13 expenses as of the following date:

 

MM/DD/YYYY

 

Case number
(If known)

 

 

 

Official Form 106J
Schedule J: Your Expenses

 

12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case

number (if known). Answer every question.
Describe Your Household
1. Is this a joint case?
O No. Go to line 2.

Hl Yes. Does Debtor 2 live ina separate household?

MNo

O Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents? [No

Do not list Debtor 1 and
Debtor 2.

Fill out this information for
each dependent..............

i yes.

Dependent’s relationship to
Debtor 1 or Debtor 2

Dependent’s
age

Does dependent
live with you?

Do not state the
dependents names.

Son 7

= a)

CONo
ves

 

Daughter 8

ONo
@ Yes

 

ONo
1 Yes

 

0 No
O Yes

 

3. Do your expenses include
expenses of people other than
yourself and your dependents?

HNo
0 Yes

Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the

applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule |: Your income

(Official Form 1061.)

4. The rental or home ownership expenses for your residence. Include first mortgage

Your expenses
Bas SS SE

 

 

 

 

 

payments and any rent for the ground or lot. 4. $ 1,086.00

If not included in line 4:

4a. Real estate taxes 4a. $ 0.00

4b. Property, homeowner's, or renter’s insurance Ab. $ 0.00

4c. Home maintenance, repair, and upkeep expenses 4c. $ 0.00

4d. Homeowner's association or condominium dues 4d. $ 39.00
5. Additional mortgage payments for your residence, such as home equity loans 5. $ 0.00

Official Form 106J

Schedule J: Your Expenses

 

page 1
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Debtor1 Angela M Claudio
Debtor2 Henry E Claudio

6.

ON

11,
12.

13.
14,
15.

16.

17.

18.

19.

20.

21.
22.

23.

24.

OFinial Caren 1N6 1

 

Utilities:
6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection

6d. Other. Specify: Cell Phones

Case number (if known)

 

Food and housekeeping supplies
Childcare and children’s education costs
Clothing, laundry, and dry cleaning
Personal care products and services
Medical and dental expenses

Do not include car payments.

insurance.

15a. Life insurance

15b. Health insurance

15c. Vehicle insurance

15d. Other insurance. Specify:

 

Specify:

 

Installment or lease payments:
17a. Car payments for Vehicle 4

17b. Car payments for Vehicle 2
17c. Other. Specify:

 

17d. Other. Specify:

 

Specify:

 

20a. Mortgages on other property
20b. Real estate taxes

Other: Specify: Husband's rent in NY

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Calculate your monthly expenses
22a. Add lines 4 through 21.

Calculate your monthly net income.

 

 

 

 

 

6a. $ 290.00
6b. $ 45.00
6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $ 85.00
6d. $ 293.00
7. $ 1,300.00
8. $ 0.00
9. $ 200.00
10. $ 180.00
11. $ 100.00
Transportation. Include gas, maintenance, bus or train fare. 12. $ 380.00
Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 0.00
Charitable contributions and religious donations 14. $ 0.00
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. $ 0.00
15b. $ 0.00
15c. $ 210.00
15d. $ 0.00
Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
16. $ 0.00
17a. $ 0.00
17b. $ 0.00
17c. $ 0.00
17d. $ 0.00
Your payments of alimony, maintenance, and support that you did not report as
deducted from your pay on line 5, Schedule |, Your income (Official Form 1061). 18. $ 0.00
Other payments you make to support others who do not live with you. $ 0.00
19.
Other real property expenses not included in lines 4 or 5 of this form or on Schedule |: Your income.
20a. $ 0.00
20b. $ 0.00
20c. Property, homeowner's, or renter’s insurance 20c. $ 0.00
20d. Maintenance, repair, and upkeep expenses 20d. $ 0.00
20e. Homeowner's association or condominium dues 20e. $ 0.00
21. +$ 300.00
$ 4,508.00
22b, Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 $
22c. Add line 22a and 22b. The result is your monthly expenses. $ 4,508.00
23a. Copy line 12 (your combined monthly income) from Schedule I. 23a. $ 4,537.18
23b. Copy your monthly expenses from line 22c above. 23b. -$ 4,508.00
23c. Subtract your monthly expenses from your monthly income. 23¢.|$ 29.18

The result is your monthly net income.

Do you expect an increase or decrease in your expenses within the year after you file this form?
For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a

modification to the terms of your mortgage?

No.

 

 

 

 

 

O Yes. | Explain here:

 

Schedule J: Your Expenses

page 2
Case:18-41847-EJC Doc#:1 Filed:12/17/18 Entered:12/17/18 17:06:33 Page:33 of 50

ARR omen ACs ota Ce

 

 

 

Debtor 1 Angela M Claudio _

First Name Middle Name Last Name -
Debtor 2 Henry E Claudio
{Spouse if, filing} First Name Middle Name Lasi Name

United States Bankruptcy Court for the: © SOUTHERN DISTRICT OF GEORGIA

Case number
(if known) ( Check if this is an

amended filing

 

 

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 42/15

if two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

 

gm No

Yes. Name of person Attach Bankruptcy Petition Preparer’s Notice,
Pp
Declaration, and Signature (Official Farm 119)

 

Under penalty of perjury, | declare that | have read the symmary and schedules filed with this declaration and |
that they are true and correct. o", rae a - oS
fa oo i

X (s{ Henry E Claudio yh

— hen i
Henry E Claudio ¢ 0 “\/ Le

#

 

X {sf AngelaMClaudio {07 kes
Angela M Claudio “_

AD

 

 

 

Signature of Debtor 4 | ou a Signature of Debtor 2
Date December 5, 2018 ee Date December_5, 2018
Official Form 106Dec Declaration About an individual Debtor's Schedules

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Case:18-41847-EJC Doc#:1 Filed:12/17/18 Entered:12/17/18 17:06:33 Page:34 of 50

Fill in this information to identify your case:

Debtor 1 Angela M Claudio

First Name Middle Name Last Name

Debtor 2 Henry E Claudio
(Spouse if, filing) First Name Middie Name Last Name

 

 

United States Bankruptcy Court for the. © SOUTHERN DISTRICT OF GEORGIA

 

Case number
(if known) 0D Check if this is an

amended filing

 

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 4/16

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Give Details About Your Marital Status and Where You Lived Before

1... What is your current marital status?

@ Married
Ol Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

O No

HM Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

 

Debtor 1 Prior Address: Dates Debtor 1 Debtor 2 Prior Address: Dates Debtor 2
lived there lived there
10213 Falcon Pine Blvd From-To: Wl same as Debtor 1 WH same as Debtor 1
Apt. 207 August, 2017- From-To:
Orlando, FL 32829 July, 2018
222 Washington Rd. From-To: | | Same as Debtor 1 a Same as Debtor 1
Aptc April 2014- June, Erom-To:
Brooklyn, NY 11209 2017

 

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

HM No
Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Explain the Sources of Your Income

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

 

O No
Yes. Fill in the details.
Debtor 1 Debtor 2
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1

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Case:18-41847-EJC Doc#:1 Filed:12/17/18 Entered:12/17/18 17:06:33

Debtor 7

From January 1 of current year until
the date you filed for bankruptcy:

Angela M Claudio
Debtor2 Henry E Claudio

Debtor 1

Sources of income
Check all that apply.

a Wages, commissions,
bonuses, tips

OO Operating a business

Case number (if known)

Gross income
(before deductions and
exclusions)

$14,445.90

Page:35 of 50

 

Debtor 2

Sources of income
Check all that apply.

a Wages, commissions,
bonuses, tips

0 Operating a business

Gross income
(before deductions
and exclusions)

$20,089.84

 

For last calendar year:

(January 1 to December 31, 2017 )

a Wages, commissions,
bonuses, tips

0 Operating a business

$19,195.04

= Wages, commissions,
bonuses, tips

0 Operating a business

$37,206.09

 

For the calendar year before that:
(January 1 to December 31, 2016 )

a Wages, commissions,
bonuses, tips

C1 Operating a business

$20,000.00

a Wages, commissions,
bonuses, tips

UO Operating a business

$37,000.00

 

Did you receive any other income during this year or the two previous calendar years?

include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

@ No

O Yes. Fill in the details.

Debtor 2
Sources of income
Describe below.

Debtor 1
Sources of income
Describe below.

Gross income
(before deductions
and exclusions)

Gross income from
each source

(before deductions and
exclusions)

List Certain Payments You Made Before You Filed for Bankruptcy

6.

Official Form 107

Cafhuarn Caniuinht fo) 100R-901R React Caca 11 CO ~ wnsnw hastrasce cam

Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

O No.

M@ yYes.

Creditor's Name and Address

Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
0 No.

O ves

Go to line 7.

List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

Hi No.
0 Yes

Go to line 7.

List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
attorney for this bankruptcy case.

Dates of payment Total amount Amount you Was this payment for ...

paid still owe

Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2

Best Case Bankrupicy
Case:18-41847-EJC Doc#:1 Filed:12/17/18 Entered:12/17/18 17:06:33 Page:36 of 50

Debtor 1 Angela M Claudio
Debtor2 Henry E Claudio Case number (if known)

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
a business you operate as a sole proprietor. 41 U.S.C. § 101. Include payments for domestic support obligations, such as child support and

alimony.

H No

0 sYes. List all payments to an insider.

insider's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe

8. Within 4 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?

Include payments on debts guaranteed or cosigned by an insider.

HM No

O1sYes. List all payments to an insider

insider's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe Include creditor's name

ZRZaEl Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
modifications, and contract disputes.

B No
O Yes. Fill in the details.

Case title Nature of the case Court or agency Status of the case
Case number

40. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

O No. Go to line 17.
HM yes. Fill in the information below.

Creditor Name and Address Describe the Property Date Value of the
property
Explain what happened
Ally Financial 2017 Ford Escape November, $20,000.00
200 Renaissance Ctr 2018
Detroit, M1 48243 @ Property was repossessed.

O Property was foreclosed.
(1 Property was garnished.

0 Property was attached, seized or levied.

 

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

@ No
Ol Yes. Fill in the details.

Creditor Name and Address Describe the action the creditor took Date action was Amount
taken

42, Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another official?

™@ No
Ol Yes
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3

Cafhwara Canvriaht (c) 1996-2018 Best Case, LLC - www.bestcase.com Best Case Bankruptcy
Case:18-41847-EJC Doc#:1 Filed:12/17/18 Entered:12/17/18 17:06:33 Page:37 of 50

Debtor 1 Angela M Claudio
Debtor2 Henry E Claudio Case number (if known)

 

Gece List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
@ No
1 Yes. Fill in the details for each gift.

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts

Person to Whom You Gave the Gift and
Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
@ No
O Yes. Fillin the details for each gift or contribution.
Gifts or contributions to charities that total Describe what you contributed Dates you Value
more than $600 contributed

Charity's Name
Address (Number, Street, City, State and ZIP Code)

Et List Certain Losses

45. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
or gambling?

M@ No
Cl Yes. Fill in the details.
Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property

how the loss occurred Include the amount that insurance has paid. List pending loss lost

insurance claims on line 33 of Schedule A/B: Property.

Enea List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

@ No

O Yes. Fill in the details.

Person Who Was Paid Description and value of any property Date payment Amount of
Address transferred or transfer was payment
Email or website address made

Person Who Made the Payment, if Not You

417. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

®@ No

O Yes. Fill in the details.

Person Who Was Paid Description and value of any property Date payment Amount of

Address transferred or transfer was payment
made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
include gifts and transfers that you have already listed on this statement.

Be No
O Yes. Fill in the details.

Person Who Received Transfer Description and value of Describe any property or Date transfer was
Address property transferred payments received or debts made

paid in exchange
Person's relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4

_- Aansinht fo\ 1008-9018 Best Case. LLC - www,bestcase.com Best Case Bankruptcy
Case:18-41847-EJC Doc#:1 Filed:12/17/18 Entered:12/17/18 17:06:33 Page:38 of 50

Debtor1 Angela M Claudio
Debtor2. Henry E Claudio Case number (if known)

 

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
beneficiary? (These are often called asset-protection devices.)

®@ No
Ol Yes. Fill in the details.

Name of trust Description and value of the property transferred Date Transfer was
made

[PEE List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20, Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
sold, moved, or transferred?

Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.

HM No
C1 Yes. Fill in the details.

Name of Financial Institution and Last 4 digits of Type of account or Date account was Last balance

Address (Number, Street, City, State and ZIP account number instrument closed, sold, before closing or

Code) moved, or transfer
transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?

M No

O1 Yes. Fill in the details.

Name of Financial Institution Who else had access to it? Describe the contents Do you still
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City. have it?

State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

HM No
C1 yes. Fill in the details.
Name of Storage Facility Who else has or had access Describe the contents Do you still
Address (Number, Street, City, State and ZIP Code) to it? have it?
Address (Number, Street, City,
State and ZIP Code)

EECH Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
for someone.

HM No

C1 yes. Fillin the details.

Owner's Name Where is the property? Describe the property Value
Address (Number, Street, City, State and ZIP Code) (Number, Street, City, State and ZIP

Code}
[EEELUM Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

BH seEnvironmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of these substances, wastes, or material?

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
to own, operate, or utilize it, including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5

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Debtor1 Angela M Claudio
Debtor2 Henry E Claudio Case number (if known)

24, Has any governmental! unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

HM No
1 Yes. Fill in the details.

Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Code) Address (Number, Street. City, State and know it

ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

@ No

C1 Yes. Fill in the details.

Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, State and know it

ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

™@ No
CO Yes. Fill in the details.
Case Title Court or agency Nature of the case Status of the
Case Number Name case
Address (Number, Street, City,
State and ZIP Code}

 

 

etek Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
0 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
OA member of a limited liability company (LLC) or limited liability partnership (LLP)
CA partner in a partnership
1 An officer, director, or managing executive of a corporation
C0 An owner of at least 5% of the voting or equity securities of a corporation

No. None of the above applies. Go to Part 12.
O Yes. Check all that apply above and fill in the details below for each business.

Business Name Describe the nature of the business Employer Identification number
Address Do not include Social Security number or ITIN.
(Number, Street, City, State and ZIP Code) Name of accountant or bookkeeper

Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

@ No
Ol Yes. Fill in the details below.

Name Date Issued

Address
(Number, Street, City, State and ZIP Code)

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6

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Case:18-41847-EJC Doc#:1 Filed:12/17/18 Entered:12/17/18 17:06:33 Page:40 of 50

Debtor1 Angela M Claudio
Debtor2 Henry E Claudio Case number tfknown)

 

UeEe Sign Below _

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the answers
are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up te $250,000, or imprisonment for up to 20 years, or both.

 

 

18 U.S.C. §§ 152, 1341, 1519, and 357%. } i | ;

Ik f J . wt bcp fi
/s/ Angela M Claudio | /4 > nt isi Henry E Claudio » al fa
AngelaM Claudio \ : a HenryE Claudio ¢ © S—
Signature of Debtor 1 i? Signature of Debtor 2
Date December 5, 2018 Date December 5, 2018

 

 

Did you attach additional pages to Your Statement of Financial Affairs for individuals Filing for Bankruptcy (Official Form 107)?
BinNo

CO Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

Bo

Cl Yes. Name of Person . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7

Cathars Canurinht ic) 4496-7018 Best Case LLC - www hestrase com Best Case Bankrupicy
Case:18-41847-EJC Doc#:1 Filed:12/17/18 Entered:12/17/18 17:06:33 Page:41 of 50

Fill in this information to identify your case:
Debtor 1 Angela M Claudio
First Name Middle Name Last Name

Debtor 2 Henry E Claudio
(Spouse if, filing) First Name Middle Name Last Name

 

 

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF GEORGIA

 

Case number
(if known) CO Check if this is an

amended filing

 

 

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 12/15

If you are an individual filing under chapter 7, you must fill out this form if:
@ creditors have claims secured by your property, or

a you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below.

Identify the creditor and the property that is coilateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?

Creditor's Wells Fargo Home Mor BM Surrender the property. BNo

name: DO Retain the property and redeem it.

. O Retain the property and enter into a Cl Yes

Description of 29 Bristlecone Drive Savannah, Reaffirmation Agreement.

property GA 31419 Chatham County O Retain the property and [explain]:

securing debt. Chatham County Property Card:

$159,200

Cost of Sale: $12,736
No equity after cost of sale
Surrender

 

 

Gene List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases Will the lease be assumed?
Lessor's name: O No

Description of leased

Property: 1 Yes

Lessor’s name: O No

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 4

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Case:18-41847-EJC Doc#:1 Filed:12/17/18 Entered:12/17/18 17:06:33 Page:42 of 50

Debtor1 Angela M Claudio
Debtor2. Henry E Claudio Case number (if known}

 

Description of leased

Property: [I Yes
Lessors name: O no

Description of leased

Property: Cl ves
Lessor's name: CO No

Description of leased

Property: (] Yes
Lessors name: (0 No

Description of leased

Property: Cl yes
Lessor's name: C No

Description of leased

Property: CO Yes
Lessor's name: C] No

Description of leased

Property: O Yes

Sign Below

Under penalty of perjury, | declare that 1 have indicated my intention about any property of my estate that secures a debt and any personal

 

 

 

 

 

 

 

property that is subject to an unexpired lease. iat a
f i PMA « . fF FP
x isfAngelaMClaudio ( / / VO X fsiHenryE Claudio A {_- fk _
Angela M Claudio <a Henry E Claudio ee
Signature of Debtor 1 Signature of Debtor 2
Date December 5, 2018 Date December §, 2018
Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 2

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Case:18-41847-EJC Doc#:1 Filed:12/17/18 Entered:12/17/18 17:06:33 Page:43 of 50

aM Mao Celt ORL LAI Ae ele ca Check one box only as directed in this form and in Form

iT Sa Ro lelo op
Debtor 1 Angela M Claudio oe

 

 

Debtor 2 Henry E Claudio

@ {. There is no presumption of abuse
(Spouse, if filing)

 

C1 2. The calculation to determine if a presumption of abuse
applies will be made under Chapter 7 Means Test
Calculation (Official Form 122A-2).

United States Bankruptcy Court forthe: Southern District of Georgia

 

Case number
(if known) CO 3. The Means Test does not apply now because of
qualified military service but it could apply later.

 

 

 

(] Check if this is an amended filing

Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income 12/15

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

Calculate Your Current Monthly income

 

1. What is your marital and filing status? Check one only.
C1 Not married. Fill out Column A, lines 2-11.
@ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
OO Married and your spouse is NOT filing with you. You and your spouse are:
(1 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

0 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. W1WUSC §
101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
the 6 months, add the income for all 6 months and divide the total by 6. Fill in the resutt. Do not include any income amount more than once. For example, if both
spouses own the same rental property, put the income from that property in one column only. {f you have nothing to report for any line, write $0 in the space.

 

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all

 

payroll deductions). 0.00 $ 0.00
3. Alimony and maintenance payments. Do not include payments from a spouse if
Column 8 is filled in. $ 0.00 $ 0.00

 

4. All amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. Include regular contributions
from an unmarried partner, members of your household, your dependents, parents,
and roommates. Include regular contributions from a spouse only if Column B is not
filled in. Do not include payments you listed on line 3. $ 0.00 $ 0.00

5. Net income from operating a business, profession, or farm

 

 

 

 

 

 

 

Debtor 1
Gross receipts (before all deductions) $ 0.00
Ordinary and necessary operating expenses $ 0.00
Net monthly income from a business, profession, or farm $ 0.00 Copy here -> $ 0.00 $ 0.00
6. Net income from rental and other real property
Debtor 1
Gross receipts (before all deductions) $ 0.00
Ordinary and necessary operating expenses $ 0.00
Net monthly income from rental or other real property = $ 0.00 Copy here -> $ 0.00 ¢ 0.00
7. Interest, dividends, and royalties $ 0.00 $ 0.00
Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 1

Safhara Canurinht fe) 1098-2018 Rast Case 11 C- www hestcase com Best Case Bankruptcy
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Angela M Claudio

 

 

 

Debtor 4 .
Debtor 2 Henry E Claudio _. Case number (if known) .
Column A Column B
Debtor 4 Debtor 2 or
non-filing spouse
8. Unemployment compensation $ 0.00 $ 0.00

 

Do not enter the amount if you contend that the amount received was a benefit under
the Social Security Act. Instead, list it here:

 

 

 

 

 

 

 

 

 

 

FOP YOU a ccsacesesneceevtveenearestineteetnne 0.00
For yourspouse . 0.00
9, Pension or retirement income. — not include any amount received thal was a
benefit under the Social Security Act. $ 0.00 $ 9.00
10. Income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act or payments
received as a victim of a war crime, a crime against humanity, or international or
domestic terrorism. If necessary, list other sources on a separate page and put the
total below.
_ $ 0.000 3 0.00
ieee _ zg: $ 0.00 $ 0.00
Total amounts from separate pages, if any. + 3 0.00 86$ 0.00
11, Calculate your total current monthly income. Add lines 2 through 10 for Ae
gach column. Then add the total for Column A to the total for Column B. $ 0.00 *$ 0.00 $ 9.00
[ni

 

 

Total current monthly
income

Determine Whether the Means Test Applies to You

12, Calculate your current monthly income for the year. Follow these steps:

12a. Copy your total current monthly income from line 14 Copy line 11 here=>

Multiply by 12 (the number of months in a year)

 

42b, The result is your annual income for this part of the form

43. Catculate the median family income that applies to you. Follow these steps:

Fill in the state in which you live, | GA |
Fill in the number of people in your household. [ 4

Fill in the median family income for your state and size of household. 13.

To find a list of applicable median income amounts, go online using the link ‘specified ir in the ‘separate instructions
for this form. This list may also be available at the bankruptcy clerk's office.

 

14. How do the lines compare?

44a. MM Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Go to Part 3.

445, (2 Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
Go to Part 3 and fill out Form 122A-2,

Sign Below

By signing here, | declare under pony of ak = (he Tt on this statement and in any attachments is true and correct.

é f

 

X isfAngelaM Claudio { . / X fs/ Henry E Claudio “LK [“

 

 

 

 

Angela M Claudio rr ae Henry E Claudio pf —
Signature of Debtor 1 ee Signature of Debtor 2

Date December 5,2018 “ne Date December 5, 2018
MM/DD /YYYY MM/DD LYYYY

If you checked line 14a, do NOT fill out or file Form 122A-2.

 

 

 

 

Official Form peer Chapter 7 Statement of Your Current Monthly income page 2

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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)

 

 

 

This notice is for you if:

You are an individual! filing for bankruptcy,
and

Your debts are primarily consumer debts.
Consumer debts are defined in 11 U.S.C.

§ 101(8) as “incurred by an individual
primarily for a personal, family, or

household purpose.”

 

Chapter 7: Liquidation

 

$245 filing fee
$75 administrative fee

+ $15 trustee surcharge

 

 

 

The types of bankruptcy that are available to
individuals

Individuals who meet the qualifications may file under
one of four different chapters of Bankruptcy Code:

Chapter 7 - Liquidation
Chapter 11 - Reorganization

Chapter 12 - Voluntary repayment plan
for family farmers or
fishermen

Chapter 13 - Voluntary repayment plan
for individuals with regular
income

You should have an attorney review your
decision to file for bankruptcy and the choice of
chapter.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

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$335 _ total fee

Chapter 7 is for individuals who have financial
difficulty preventing them from paying their debts
and who are willing to allow their nonexempt
property to be used to pay their creditors. The
primary purpose of filing under chapter 7 is to have
your debts discharged. The bankruptcy discharge
relieves you after bankruptcy from having to pay
many of your pre-bankruptcy debts. Exceptions exist
for particular debts, and liens on property may still
be enforced after discharge. For example, a creditor
may have the right to foreclose a home mortgage or
repossess an automobile.

However, if the court finds that you have committed
certain kinds of improper conduct described in the
Bankruptcy Code, the court may deny your
discharge.

You should know that even if you file chapter 7 and
you receive a discharge, some debts are not
discharged under the law. Therefore, you may still
be responsible to pay:

most taxes;

most student loans;

domestic support and property settlement
obligations;

page 1

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most fines, penalties, forfeitures, and criminal
restitution obligations; and

certain debts that are not listed in your bankruptcy
papers.

You may also be required to pay debts arising from:
fraud or theft;

fraud or defalcation while acting in breach of
fiduciary capacity;

intentional injuries that you inflicted; and

death or personal injury caused by operating a
motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs.

lf your debts are primarily consumer debts, the court
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.
You must file Chapter 7 Statement of Your Current
Monthly Income (Official Form 122A-1) if you are an
individual filing for bankruptcy under chapter 7. This
form will determine your current monthly income and
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form
122A—2).

\f your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test
Calculation (Official Form 122A—2). The calculations on
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
certain debts to determine any amount available to pay
unsecured creditors. If

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

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your income is more than the median income for your
state of residence and family size, depending on the
results of the Means Test, the U.S. trustee, bankruptcy
administrator, or creditors can file a motion to dismiss
your case under § 707(b) of the Bankruptcy Code. If a
motion is filed, the court will decide if your case should
be dismissed. To avoid dismissal, you may choose to
proceed under another chapter of the Bankruptcy
Code.

If you are an individual filing for chapter 7 bankruptcy,
the trustee may sell your property to pay your debts,
subject to your right to exempt the property or a portion
of the proceeds from the sale of the property. The
property, and the proceeds from property that your
bankruptcy trustee sells or liquidates that you are
entitled to, is called exempt property. Exemptions may
enable you to keep your home, a car, clothing, and
household items or to receive some of the proceeds if
the property is sold.

Exemptions are not automatic. To exempt property,
you must list it on Schedule C: The Property You Claim
as Exempt (Official Form 106C). If you do not list the
property, the trustee may sell it and pay all of the
proceeds to your creditors.

 

Chapter 11: Reorganization

 

$1,167 filing fee

+ $550 administrative fee

$1,717 total fee

Chapter 11 is often used for reorganizing a business,
but is also available to individuals. The provisions of
chapter 11 are too complicated to summarize briefly.

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Read These Important Warnings

 

Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.

Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
or inaction may harm you. If you file without an attorney, you are still responsible for knowing and

following all of the legal requirements.

You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the

necessary documents.

Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

 

Chapter 12: Repayment plan for family
farmers or fishermen

 

$200 filing fee
+ $75 administrative fee
$275 total fee

Similar to chapter 13, chapter 12 permits family farmers
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.

 

Chapter 13: Repayment plan for
individuals with regular
income

 

$235 filing fee
+ $75 administrative fee
$310 total fee

 

Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
installments over a period of time and to discharge
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
dollar amounts set forth in 11 U.S.C. § 109.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

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Under chapter 13, you must file with the court a plan
to repay your creditors all or part of the money that
you owe them, usually using your future earnings. If
the court approves your plan, the court will allow you
to repay your debts, as adjusted by the plan, within 3
years or 5 years, depending on your income and other
factors.

After you make all the payments under your plan,
many of your debts are discharged. The debts that are
not discharged and that you may still be responsible to
pay include:

domestic support obligations,

most student loans,

certain taxes,

debts for fraud or theft,

debts for fraud or defalcation while acting in a
fiduciary capacity,

most criminal fines and restitution obligations,

certain debts that are not listed in your
bankruptcy papers,

certain debts for acts that caused death or
personal injury, and

certain long-term secured debts.

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Warning: File Your Forms on Time

Section 521(a)(1) of the Bankruptcy Code requires thal
you promptly file detailed information about your
creditors, assets, liabilities, income, expenses and
general financial condition. The court may dismiss your
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code. the
Bankruptcy Rules, and the local rules of the court

For more information about the documents and
their deadlines, go to:
http:/Avww.uscourts.gov/bkforms/bankruptcy form

s.htmi#procedure.

 

 

 

Bankruptcy crimes have serious consequences

if you knowingly and fraudulently conceal assets
or make a false oath or statement under penalty
of perjury—either orally or in writing—in
connection with a bankruptcy case, you may be
fined, imprisoned, or both.

All information you supply in connection with a
bankruptcy case is subject to examination by the
Attorney General acting through the Office of the
U.S. Trustee, the Office of the U.S. Attorney, and
other offices and employees of the U.S.
Department of Justice.

Make sure the court has your mailing address

The bankruptcy court sends notices to the mailing
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure
that you receive information about your case,
Bankruptcy Rule 4002 requires that you notify the court
of any changes in your address.

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Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010}

A married couple may file a bankruptcy case
together—called a joint case. If you file a joint case and
each spouse lists the same mailing address on the
bankruptcy petition, the bankruptcy court generally will
mail you and your spouse one copy of each notice,
unless you file a statement with the court asking that
each spouse receive separate copies.

Understand which services you could receive from
credit counseling agencies

The law generally requires that you receive a credit
counseling briefing from an approved credit counseling
agency. 11 U.S.C. § 109(h). If you are filing a joint
case, both spouses must receive the briefing. With
limited exceptions, you must receive it within the 180
days before you file your bankruptcy petition. This
briefing is usually conducted by telephone or on the
Internet.

{n addition, after filing a bankruptcy case, you generally
must complete a financial management instructional
course before you can receive a discharge. If you are
filing a joint case, both spouses must complete the
course.

You can obtain the list of agencies approved to provide
both the briefing and the instructional course from:
htto://iustice.gov/ust/eo/hapcpa/ccde/cc approved.html

In Aigbama and North Carolina, go to:
httowiwww.uscourts.gov/FederalCourts/Bankruptcy/
BankruptcvResources/ApprovedCredit

AndDebtCounselors.aspx.

\f you do not have access to a computer, the clerk of
the bankruptcy court may be able to help you obtain
the list.

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B2030 (Form 2030) (12/15)
United States Bankruptcy Court
Southern District of Georgia

Angela M Claudio
Inre Henry E Claudio Case No.

 

 

Debtor(s) Chapter 7

 

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)

1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

 

 

For legal services, I have agreed to accept $ 1,185.00
Prior to the filing of this statement I have received $ 1,185.00
Balance Due $ 0.00

 

2. The source of the compensation paid to me was:

HB Debtor O Other (specify):

3. | The source of compensation to be paid to me is:

BM Debtor O Other (specify):

4. HH [ have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

C1 [have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.  Inreturn for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;

Preparation and filing of any petition, schedules, statement of affairs and plan which may be required,

Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

[Other provisions as needed]
Petition and plan, Negotiations with secured creditors to reduce to market value; exemption planning;
preparation and filing of reaffirmation agreements and applications as needed; preparation and filing of motions
pursuant to 11 USC 522(f)(2)(A) for avoidance of liens on household goods.

ao se

6. By agreement with the debtor(s), the above-disclosed fee does not include the following service:
Representation of the debtors in any dischargeability actions, any other adversary proceeding, requests to incur
debt, motions to sell property.

 

CERTIFICATION

I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding. ——s

 

 

December 5, 2018 Is/ John E. Pytte \ vi X
Date John E. Pytte 590555
Signature of Attorney
John Pytte
P.O. BOX 949

Hinesville, GA 31310
912-369-3569 Fax: 912-367-3579
johnpytte@jpytte.com

Name of law firm

 

 

 

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ANGELA M CLAUDIO ( . oe
HENRY E CLAUDIO
29 BRISTLECONE DRIVE ..--

SAVANNAH GA 31419 iC
é -

JOHN E. PYTTE
JOHN PYTTE

P.O. BOX 949
HINESVILLE, GA 31310

ALLY FINANCIAL

ATTN: BANKRUPTCY DEPT
PO BOX 380901
BLOOMINGTON MN 55438

AMERICAS CREDIT UNION

Sei ce

 

CITY OF SAVANNAH
P.O, BOX 1968

UTILITY SERVICE
SAVANNAH GA 31402-1968

COMENITY BANK
PO BOX 659728
SAN ANTONIO TX 78265

COMENITY BANK /EXPRESS
PO BOX 182782
COLUMBUS OH 43218-2782

DUKE ENERGY
PO BOX 1004
CHARLOTTE NC 28201-1004

CAPITAL MANAGEMENT SERVICES, LPHELVEY ASSOCIATES |

698 1/2 SOUTH OGDEN STREET
BUFFALO NY 14206-2317

1015 E. CENTER ST.
WARSAW IN 46580

CENTRAL FLORIDA EXPRESSWAY AUTHDRIAYA INTERNATIONAL

PO BOX 585070
ORLANDO FL 32858-5070

CHASE CARD SERVICES
CORRESPONDENCE DEPT
PO BOX 15298
WILMINGTON DE 19850

CITIBANK/BEST BUY
ATTN: BANKRUPTCY
PO BOX 790441

ST. LOUIS MO 63179

CITIBANK/SHELL OIL
CENTRALIZED BANKRUPTCY
PO BOX 790034

ST LOUIS MO 63173

PO BOX 340
BOTHELL WA 98041-0340

NEW JERSEY TURNPIKE AUTHORITY
PO BOX 4971
TRENTON NJ 08650

NEW YORK THRUWAY
VIOLATIONS PROCESSING CENTER
PO BOX 15186

ALBANY NY 12212-5186

RTR FINANCIAL SERVICES
PO BOX 60640
STATEN ISLAND NY 10306-0640

SYNCHRONY BANK/AMAZON
PO BOX 965013
ORLANDO FL 32896-5013

SYNCHRONY BANK/LOWES
ATTN: BANKRUPTCY DEPT
PO BOX 965060

ORLANDO FL 32896

THE PORT AUTHORITY OF NY 8
C/O ALLIANCE ONE RECEIVABLEN
6565 KIMBALL DRIVE, SUITE 200
GIG HARBOR WA 98335

USAA INSURANCE

ATTN: BANKRUPTCY DEPT.
9800 FREDERICKSBURG RD
SAN ANTOINIO TX 78288

WASHINGTON STATE EMPLOYEE
PO BOX WSECU
OLYMPIA WA 98507

WELLS FARGO HOME MOR
ATTN: BANKRUPTCY DEPARTMERK
8480 STAGECOACH CIR.
FREDERICK MD 21701

RETRIEVAL-MASTERS CREDITORS BUREAU, INC

4 WESTCHESTER PLAZA, SUITE 110
ELMSFORD NY 10523
